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             UNITED STATES DISTRICT COURT
        FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                                       :
ADAM DOBSON,                           :
                                       :   NO. 1:16-cv-01958-CCC
                    Plaintiff,         :
                                       :
         vs.                           :   (CONNER, C.J.)
                                       :
THE MILTON HERSHEY SCHOOL,             :
et al.,                                :
                                       :
                    Defendants.        :
                                       :

  DEFENDANTS’ REPLY BRIEF IN FURTHER SUPPORT OF THEIR
        MOTION FOR JUDGMENT ON THE PLEADINGS


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                                  School Trust
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I.    INTRODUCTION
      Plaintiff’s six (6) page response admits that his remaining claims are legally

meritless, and must be dismissed with prejudice.        Significantly, Plaintiff has

withdrawn his Fair Housing Act (Count II), and Fair Labor Standards Act (Count

III) claims. The remaining two (2) claims Americans with Disabilities Act (Count

I), and negligence per se (Count XIII) are legally flawed and must be dismissed.

Notably, Plaintiff barely musters a response and does not cite a single case to

support either of his claims.

      Indeed, Plaintiff’s response to his negligence per se claim consists of only

one legally insufficient conclusory sentence. Plaintiff fails to address Defendants’

controlling precedent confirming that an alleged violation of the ADA cannot, as a

matter of law, form the basis of a negligence per se claim. This non-response is

fatal to Plaintiff’s claims and compels dismissal. Furthermore, a litigant who fails

to counter controlling case law without explanation is deemed to have waived any

defense of a request to dismiss. See Smith v. Nat'l Flood Ins. Program of the Fed.

Emergency Mgmt. Agency, 156 F. Supp. 2d 520, 525 (E.D. Pa. 2001) (“Finally,

defendants also argue that plaintiffs are not entitled to recover costs, interest and

attorney fees. . . . Because plaintiffs have failed to file any response to this

argument, the court will grant this part of defendants' motion to dismiss.”); Ocasio

v. Ciach, 2017 U.S. Dist. LEXIS 123070, at *6 n.3 (E.D. Pa. Aug. 3, 2017)
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(“Plaintiff has failed to offer any response to this argument, and so all claims

against the Borough of Upland and Mr. Ciach and Ms. Peterson in their official

capacities are appropriately dismissed with prejudice.”); Giampolo v. Somerset

Hosp. Ctr. for Health, 1998 U.S. Dist. LEXIS 14388, at *32 (W.D. Pa. May 29,

1998) (“Defendants have moved for summary judgment on this claim, and

although he has not explicitly conceded the point, Giampolo offers no argument in

response. Hence, I deem the issue waived and will dismiss this claim with

prejudice.”)

      Plaintiff’s ADA claim also fails as a matter of law. Controlling Third

Circuit precedent holds that money damages are not available under Title III of the

ADA, and that any claim for prospective injunctive relief is not cognizable once a

student (Plaintiff) is no longer eligible to return to a school because of subsequent

graduation. In response, Plaintiff unconvincingly attempts to recast his claim as

one pertaining to access to post-secondary education, a claim never before raised,

but ultimately admits what he truly wants – money.          By conceding that the

damages he seeks are equivalent to the amount of the scholarship money he would

have received had he graduated from Defendant the Milton Hershey School

(“MHS”), Plaintiff concedes that he seeks money damages that Title III of the

ADA does not afford, and in doing so simply pretends that the controlling case law

cited by Defendants does not exist.

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      There is no legal or factual basis supporting Plaintiff’s baseless claims, and

Plaintiff has failed to counter any of the controlling legal precedents cited by

Defendants that warrant dismissal of Plaintiffs’ two remaining claims.

Accordingly, this Court should grant Defendants’ Motion and enter judgment as a

matter of law in Defendants’ favor on each of Plaintiff’s claims.

II.   ARGUMENT IN REPLY

      A.     Plaintiff Lacks Standing to Bring an ADA Claim Because He
             Seeks to Recover Monetary Damages Which Are Unavailable
             Under Title III of the ADA As a Matter of Law.
      Plaintiff, without citing any legal precedent, alleges that he has standing to

pursue his ADA claim, because his Amended Complaint pleaded that MHS

provides up to $80,000 to students for college scholarships, but his expulsion from

MHS rendered him ineligible “to receive any of this scholarship money,” and

therefore he has “been unable to afford and attend collage [sic].” (Pl.’s Br. at 7

(citing Am. Compl., at ¶¶ 109-10.))1 Plaintiffs’ first-identified “access to post-

secondary education” argument cannot resuscitate his withering and legally

insufficient claims.

      As set forth at length in Defendants’ Brief, “[u]nder Title III of the ADA,

private plaintiffs may not obtain monetary damages.” Anderson v. Macy's, Inc.,

      1
         Plaintiffs’ standing argument is based exclusively on his request for
“immediate qualification for the MHS Scholarship program,” (Pl.’s Resp. at 6-8).
Thus, Plaintiff has abandoned the other various forms of improper injunctive relief
sought in the Amended Complaint. (See Doc. 20, Am. Compl., at ¶ 137(b)-(d).)
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943 F. Supp. 2d 531, 538 (W.D. Pa. 2013); Scott v. Giant Eagle Mkt., 2018 U.S.

Dist. LEXIS 34514, at *8 (W.D. Pa. Mar. 2, 2018) (“The only remedy available in

a Title III case is prospective injunctive relief; monetary damages are not

available.”); Whitaker v. Firman, 2013 U.S. Dist. LEXIS 117583, at *8 (W.D. Pa.

Aug. 20, 2013) (“Under Title III, private plaintiffs are limited to recovering

prospective injunctive relief; monetary damages are not available.”); Mirabella v.

William Penn Charter Sch., 2017 U.S. Dist. LEXIS 40149, at *5 (E.D. Pa. Mar. 20,

2017) (“Defendants correctly note that, under the applicable provision of the ADA,

aside from attorney’s fees, injunctive relief is the only available remedy.”);

Hollinger v. Reading Health Sys., 2017 U.S. Dist. LEXIS 12871, at *9 (E.D. Pa.

Jan. 30, 2017) (“Under Title III of the ADA, injunctive relief is the only type of

remedy available.”).

      Plaintiff attempts to avoid this mountain of controlling precedent by

disingenuously arguing that he is not seeking money damages, but rather is seeking

to “compel MHS to make Plaintiff scholarship eligible via injunctive relief.” (Pl.’s

Br. at 7.) Plaintiff contends, without any legal citation, that this “is not” a financial

award and that it would be “wrong” to construe this allegation “as a claim for

money damages.” (Id. at 6-7.) However, a “claim for money damages” is exactly

what Plaintiff is seeking. By requesting the Court to compel Defendants “to make




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Plaintiff scholarship eligible via injunctive relief,” Plaintiff is really asking the

Court to compel Defendants to pay him $80,000.

      However, it is well settled that Plaintiff “cannot transform a claim for

damages into an equitable action by asking for an injunction that orders the

payment of money.” Jaffee v. United States, 592 F.2d 712, 715 (3d Cir. 1979);

Packard v. Provident Nat’l Bank, 994 F.2d 1039, 1050 (3d Cir. 1993) (“we have

stated that a plaintiff may not turn what is essentially a legal claim into an

equitable one merely by demanding an injunction requiring the payment of

money.”).2 It is beyond question that the recovery that Plaintiff seeks is the

payment of $80,000, which is not available under Title III of the ADA. Knowing

this, and knowing the controlling precedents cited by Defendants preclude such

recovery, Plaintiffs’ counsel now disingenuously submits an alternative theory of

Plaintiffs’ ADA claim which is equally meritless and equally foreclosed by

applicable case law. See Anderson, 943 F. Supp. 2d at 538; Scott, 2018 U.S. Dist.

LEXIS 34514, at *8; Whitaker, 2013 U.S. Dist. LEXIS 117583, at *8; Mirabella,

      2
         See also New Mexico v. Regan, 745 F.2d 1318, 1322 (10th Cir. 1984) (“a
plaintiff may not transform a claim for monetary relief into an equitable action
simply by asking for an injunction that orders the payment of money”); United
States v. Yonkers Bd. of Educ., 594 F. Supp. 466, 470 (S.D.N.Y. 1984) (“In Jaffee,
supra, the Third Circuit held that a purported equitable claim would be considered
the equivalent of a claim for monetary damages if it could be satisfied by the
payment of money.”); Dhamer v. Bristol-Myers Squibb Co., 183 F.R.D. 520, 529
(N.D. Ill. 1998) (“The plaintiff seeks funding for treatment, this alters the nature of
the relief requested making plaintiff's claims no different than traditional money
damages claims.”)
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2017 U.S. Dist. LEXIS 40149, at *5; Hollinger, 2017 U.S. Dist. LEXIS 12871, at

*9.

      Moreover, even assuming arguendo that a claim for $80,000 in scholarship

money is not a claim for “money damages,” which it is, Plaintiff’s claim still fails

as a matter of law because prospective injunctive relief is only available where the

plaintiff can establish “a real and immediate threat that he would again be [the

victim of the allegedly unconstitutional practice].” W.G. Nichols, Inc. v. Ferguson,

2002 U.S. Dist. LEXIS 10707, at *34 (E.D. Pa. June 6, 2002) (quoting Brown v.

Fauver, 819 F.2d 395, 400 (3d Cir. 1987) (alteration in original)); Anderson, 943

F. Supp. 2d at 538 (“courts look beyond the alleged past violation and consider the

possibility of future violations.”); Hollinger, 2017 U.S. Dist. LEXIS 12871, at *9

(same); Scott, 2018 U.S. Dist. LEXIS 34514, at *9 (same); Whitaker, 2013 U.S.

Dist. LEXIS 117583, at *11 (same); Mirabella, 2017 U.S. Dist. LEXIS 40149, at

*8-9 (rejecting plaintiff’s argument that he had continued to suffer from

defendant’s alleged actions because they allegedly caused him to “not be[]

admitted to any of the colleges to which he had a reasonable expectation of being

admitted.”)

      In light of this, “[t]he great weight of precedent instructs that [Plaintiff’s]

graduation from high school rendered his ADA claim for injunctive relief moot.”




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Mirabella, 2017 U.S. Dist. LEXIS 40149, at *10 (emphasis added);3 Zeller v.

Donegal Sch. Dist. Bd. of Ed., 517 F.2d 600, 601 n.1 (3d Cir. 1975) (“Upon young

Zeller’s graduation from high school, however, the request for equitable relief

became moot, . . .”); Donovan ex rel. Donovan v. Punxsutawney Area Sch. Bd.,

336 F.3d 211, 214 (3d Cir. 2003) (“Because Donovan has graduated pending this

review, we conclude that her request for injunctive and declaratory relief is

moot,....”).4 Therefore, even in the unlikely event that that Plaintiff’s request for

$80,000 could be construed as a request for prospective injunctive relief, such

relief is not available due to Plaintiff’s admitted graduation from high school.




      3
        Plaintiff speciously asserts that Mirabella is inapplicable because “this case
is at the pleadings stage,” whereas Mirabella was decided after discovery had
occurred. (Pl.’s Br. at 6.) However, in Mirabella, the Court held that plaintiff’s
claims must be dismissed solely because of the fact that “[f]ollowing graduation
from high school, Conner [the graduated student] no longer had a personal interest
in the challenged practices.” Mirabella, 2017 U.S. Dist. LEXIS 40149, at *10-11.
There is no possible discovery here that could change the fact that Plaintiff has
graduated from high school. Indeed, Plaintiff admits this controlling fact. Thus,
that Mirabella was decided after discovery is irrelevent.
      4
         See also Fox v. Bd. of Trustees of State Univ. of N.Y., 42 F.3d 135, 140 (2d
Cir. 1994) (“This court has consistently held that students’ declaratory and
injunctive claims against the universities that they attend are mooted by the
graduation of the students....”); Stotts v. Cmty. Unit Sch. Dist. No. 1, 230 F.3d 989,
991 (7th Cir. 2000) (“Stotts has graduated; he no longer has a reasonable
expectation of being subjected to the Board’s appearance regulation.”); Cole v.
Oroville Union High Sch. Dist., 228 F.3d 1092, 1098 (9th Cir. 2000) (“It is well-
settled that once a student graduates, he no longer has a live case or controversy
justifying declaratory and injunctive relief against a school's action or policy.”)
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      Accordingly, this Court should grant judgment as a matter of law in favor of

Defendants on Count I (ADA claim).

      B.     An Alleged Violation of the ADA Cannot Serve as the Basis for a
             Negligence Per Se Claim.
      Plaintiff’s response concerning his negligence per se claim (Count XIII) is a

single sentence, stating that “[a]s argued above, Plaintiff’s claim under the ADA

forms the basis of his claim for Negligence Per Se.” (Pl.’s Br. at 8.) Plaintiff

relies exclusively on an alleged ADA violation as the basis for his negligence per

se claim. He has abandoned his allegations that purported violations of the FLSA

and FHA also form the basis of his negligence per se claim. See id.

      However, as set forth in Defendants’ Brief, “violation of an ADA regulation

may not be used as evidence of negligence per se.” McCree v. SEPTA, 2009 U.S.

Dist. LEXIS 4803, at *41 n.11 (E.D. Pa. Jan. 22, 2009); Levin v. Dollar Tree

Stores, Inc., 2006 U.S. Dist. LEXIS 88595, at *9 (E.D. Pa. Dec. 7, 2006) (refusing

to allow the plaintiff to “‘borrow’ the ADA regulations for use as evidence of the

standard of care to prove negligence”); Aponik v. Verizon PA., Inc., 106 F. Supp.

3d 619, 624 (E.D. Pa. 2015) (“Because the ADA was not designed to protect those

with disabilities from personal injuries, [p]laintiff is unable to state a claim for

negligence per se.”).

      Plaintiff fails to even attempt to distinguish this controlling legal precedent

that uniformly holds that alleged violations of the ADA cannot, as a matter of law,

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serve as the basis of a claim for negligence per se. Moreover, Plaintiffs’ failure to

address or counter these controlling precedents mandates dismissal of Plaintiffs’

negligence per se claim. See Smith, 156 F. Supp. 2d at 525; Ocasio, 2017 U.S.

Dist. LEXIS 123070, at *6 n.3; Giampolo, 1998 U.S. Dist. LEXIS 14388, at *32.

      Accordingly, this Court should grant judgment as a matter of law in favor of

Defendants on Count XIII (negligence per se claim).

      C.     Plaintiff Has Abandoned His FLSA and FHA Claims.
      Plaintiff has withdrawn and abandoned his causes of action under the FHA

(Count II), and the FLSA (Count III).        Accordingly, this Court should grant

judgment as a matter of law in favor of Defendants on Counts II and III.

      D.     Granting Leave to Amend Would Be Futile As a Matter of Law.
      Plaintiff spends four (4) of the six (6) pages of his Argument in Response

stating the well-established pleading standards set forth in Bell Atlantic Corp. v.

Twombly, 550 U.S. 544 (2007) and Aschroft v. Iqbal, 556 U.S. 622 (2009).

Plaintiff concludes by arguing that his Amended Complaint is sufficiently specific

under these standards, but that if the Court disagrees, he should be given leave to

again amend his Complaint.          (Pl.’s Br. at 3-6.)     Plaintiff misstates, or

fundamentally misunderstands, the grounds warranting dismissal of his remaining

claims.




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      The fatal legal deficiency of Plaintiff’s ADA and negligence per se claims,

however, is not insufficient specificity. Rather, Plaintiff’s ADA claim fails as a

matter of law because money damages are not cognizable under the ADA, and any

prospective injunctive relief is unavailable because Plaintiff has graduated from

high school. Likewise, the theory upon which his negligence per se claim is

premised is not legally cognizable. (See supra Parts II.A and B.) It would be futile

to permit Plaintiff to again amend his Complaint because his ADA and negligence

per se claims fail, as a matter of law, under any set of possible facts. See Corman

v. Torres, 287 F. Supp. 3d 558, 574 (M.D. Pa. 2018) (“the deficiencies identified

herein are legal rather than factual in nature. Accordingly, we conclude that leave

to amend would be futile.”); In re NAHC, Inc. Sec. Litig., 306 F.3d 1314, 1332 (3d

Cir. 2002) (“an amendment would be futile when ‘the complaint, as amended,

would fail to state a claim upon which relief could be granted.’”)5

      The legal defects in Plaintiffs’ claims are incurable. Accordingly, this Court

should deny Plaintiff’s request for leave to again amend, and grant judgment as a

matter of law in favor of Defendants on Counts I and XIII.


      5
         Moreover, Plaintiff has not submitted a proposed Second Amended
Complaint in violation of Local Rule 15.1. See L.R. 15.1 (“The party filing the
motion requesting leave to file an amended pleading shall provide: (1) the
proposed amended pleading ....”); see also Lake v. Arnold, 232 F.3d 360, 374 (3d
Cir. 2000) (“Here, as we stated above, the plaintiff failed to give the District Court
a draft complaint to review. Thus, the court had nothing upon which to exercise its
discretion.”)
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III.   CONCLUSION
       For all of the foregoing reasons, Defendants respectfully request that the

Court grant judgment on the pleading in favor of Defendants on all of Plaintiff’s

remaining claims.



                                       Respectfully submitted,

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Dated: September 24, 2018




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                     CERTIFICATE OF WORD COUNT

      Pursuant to Local Civil Rule 7.8(b), I certify that the word count feature of

the word-processing system used to prepare this Reply Brief states that it is 2,630

words.



                                            /s/ Jarad W. Handelman
                                            Jarad W. Handelman


Dated: September 24, 2018
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                         CERTIFICATE OF SERVICE

      I, Jarad W. Handelman, Esquire, hereby certify that I caused the foregoing to

be served on all counsel via the Court’s electronic filing system.



                                              /s/ Jarad W. Handelman
                                              Jarad W. Handelman

Dated: September 24, 2018
